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 3   Facsimile: (818) 981-6098
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 4
 5   Attorney for Defendant
     MICHELLE LE
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 7
                                   UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                       )   CASE NO.: 2:05-CR-542-GEB
11                                                   )
                            Plaintiff,               )   STIPULATION AND ORDER TO
12                                                   )   CONTINUE; AND, SUA SPONTE
     vs.                                             )   ORDER STRIKING MOTION
13                                                   )
     THO LE, et. al.,                                )
14                                                   )
                            Defendants.              )
15                                                   )
16
              It is hereby stipulated and agreed to between the United States of America through Matthew
17
     C. Stegman, Assistant United States Attorney; defendant, NAM PHAMTRAN, by and through his
18
     counsel, Alex R. Kessel, defendant, TRI HUU BUI, by and through his counsel Scott L. Tedmon;
19
     defendant, MICHELLE CHAUN GOC LE, by and through her counsel, Mark Bledstein; defendant
20
     THANG QUOC BUI, by and through his counsel, Tim Warriner; and TUNG THANH HUYNH, by
21
     and through his counsel, Matthew C. Bockman, Assistant Federal Defender, that the motions hearing
22
     date currently set for August 28, 2009 at 9:00am, be continued to October 23, 2009 at 9:00am.
23
              Counsel requires additional time to continue possible plea negotiations with the government.
24
              Counsel for Defendant MICHELLE LE, is engaged in trial in the matter of People vs.
25
     Alejandro Romero, Case No.BA349462 in Department 126 of the Los Angeles Superior Court. This
26
     case is set for trial as 50 of 60 and also engaged in People vs. Nai Wu, Case No. GA075230, in
27
     Department 1 of the Alhambra Courthouse. This case is set for preliminary hearing..
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 1          IT IS FURTHER STIPULATED that the period from August 28, 2009(the date currently set
 2   for the motions hearing) through and including October 23, 2009, be excluded in computing the time
 3   within which trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C.
 4   §3161(h)(8)(B)(iv) and Local Code T4 for continuity and preparation of counsel and 18 U.S.C.
 5   §§3161(h)(8)(B)(ii) and Local Code T2 for complexity.
 6
 7   Dated: August 24, 2009                              Respectfully submitted,
 8
 9                                              /s/ I. Mark Bledstein
                                                _______________________
10                                              I. MARK BLEDSTEIN
                                                Attorney for Defendant
11                                              MICHELLE CHAUN GOC LE
12
13                                              /s/ I. Mark Bledstein for
                                                ________________________
14                                              ALEX R. KESSEL
                                                Attorney for Defendant
15                                              NAM PHAMTRAN
16
                                                /s/ I. Mark Bledstein for
17                                              ________________________
                                                SCOTT. TEDMON
18                                              Attorney for Defendant
                                                TRUI HUU BUI
19
20
                                                /s/ I. Mark Bledstein for
21                                              ________________________
                                                TIMOTHY WARRINER
22                                              Attorney for Defendant
                                                THANG QUOC BUI
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24
25                                              /s/ I. Mark Bledstein for
                                                ________________________
26                                              MATTHEW BOCKMON
                                                Attorney for Defendant
27                                              TUNG THANH HUYNH
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 1
     Dated: August 24, 2009                     MCGREGOR W. SCOTT
 2                                              United States Attorney
 3                                              /s/ I. Mark Bledstein for
                                                ________________________
 4                                              MATTHEW C. STEGMAN
                                                Assistant United States Attorney
 5
 6                                               ORDER
 7   IT IS SO ORDERED. Further the motion to suppress evidence filed February 8, 2008, and any
 8   joinder in that motion, is deemed withdrawn and stricken since the motion should not continue
 9   pending indefinitely.
10
11   Dated: August 27, 2009

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13                                            GARLAND E. BURRELL, JR.
                                              United States District Judge
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